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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

GARY RIHN &                                  )
BONITA RIHN,                                 )
                                             )
               Plaintiffs,                   )
v.                                           )       Case No. 4:07CV00197ERW
                                             )
TYOKA JACKSON                                )
                                             )
               Defendant.                    )

 PLAINTIFFS’ MEMORANDUM IN SUPPORT OF PLAINTIFFS’ FIRST MOTION IN
     LIMINE TO EXCLUDE QUESTIONS, COMMENTS, OPINION TESTIMONY
    OR STATEMENTS OF DEFENDANTS’ EXPERT DR. SMITH CONCERNING:
              1) THE CREDIBILITY OF PLAINTIFF GARY RIHN;
             2) PLAINTIFFS’ USE OF THE LEGAL SYSTEM; AND
  3) THE CREDIBILITY OF GARY RIHN’S TREATING PHYSICIAN DR. ARONOV

       COME NOW Plaintiffs, Gary Rihn and Bonita Rihn, and for their Memorandum in

Support of Plaintiffs’ First Motion in Limine to Exclude Questions, Comments, Opinion

Testimony or Statements of Defendants’ Expert Dr. Smith Concerning: 1) the Credibility of

Plaintiff Gary Rihn; 2) Plaintiffs’ Use of the Legal System; and 3) the Credibility of Gary Rihn’s

Treating Physician Dr. Aronov, state as follows:

I.     INTRODUCTION.

       Plaintiff Gary Rihn has filed suit against Defendant Tyoka Jackson for battery. Plaintiff

Bonita Rihn has made a derivative claim for loss of consortium. Gary Rihn is a flight attendant,

employed by Northwest Airlines. On February 13, 2005, while working a flight from Memphis,

Tennessee to St. Louis, Rihn instructed Jackson to stow his bags to prepare for landing. On the

descent into St. Louis, the Defendant failed to comply with Rihn’s instructions, struck Rihn with

both hands, causing him to leave his feet, fly across the cabin, land on another passenger and the

seat separator.   Defendant’s acts violated Federal Aviation Regulation Section 121.580,



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constituting per se liability. As a result of Defendant’s assault and battery, Plaintiff Rihn

suffered physical injuries as well as post-traumatic stress syndrome/anxiety. Plaintiff Bonita

Rihn alleges loss of consortium as a result of Defendant’s battery of her husband. Plaintiffs seek

both compensatory and punitive damages.

II.    DR. SMITH’S EXPERT TESTIMONY IMPROPERLY COMMENTING ON THE
       CREDIBILITY OF PLAINTIFF GARY RIHN AND HIS TREATING PHYSICIAN
       DR. ARONOV SHOULD BE EXCLUDED BECAUSE IT IS UNDULY
       PREJUDICIAL, INVADES THE PROVINCE OF THE JURY AND IS AN
       IMPROPER ATTEMPT TO DISCREDIT PLAINTIFFS FOR EXERCISING
       THEIR RIGHTS TO UTILIZE THE JUDICIAL SYSTEM

       Plaintiff Rihn did not depose defendant’s expert Dr. Stacey Smith because Rule 26

reports are designed to eliminate or minimize the need to depose experts. See Fielden v. CSX

Transportation, Inc., 482 F.3d 866, 871 (6th Cir. 2007); Sowell v. Burlington N. & Santa Fe Ry.

Co., No. 03-C-3923, 2004 WL 2812090, at *5 (N.D.Ill.Dec.7, 2004). In the Rule 26 report, Dr.

Smith improperly impugns Mr. Rihn’s credibility and offers her expert opinion that Plaintiff

Rihn is lying and exaggerating his symptoms for purposes of this litigation. Dr. Smith explicitly

premises her opinion that Mr. Rihn does not have post-traumatic stress syndrome (or any other

serious psychological injury arising from defendant’s battery of Mr. Rihn) because Mr. Rihn “is

exaggerating his complaints and navigating the treatment and litigation processes to favor his

legal claim.” (Ex. 1, p. 21.) As will be shown, this tactic is an illegal boot-strapping effort that

the Courts have consistently rejected.

       For the convenience of the Court, plaintiff has attached a list of the inadmissible

statements made in Dr. Stacey Smith’s Rule 26 report. See Exhibit 2, attached hereto. Each of

the listed statements attacks the credibility of Mr. Rihn or Dr. Aronov directly, or attacks their

credibility based on Mr. Rihn’s decision to seek compensation for his injuries through the legal

system.



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        A.      The Court should exclude the statements and opinions by Dr. Smith
                improperly attacking Plaintiff’s credibility.

        The “expert witness” testimony of Dr. Smith that Mr. Rihn is not credible is inadmissible

as a matter of law. See United States v. Scop, 846 F.2d 135, 142 (2d Cir.1988). “[E]xpert

witnesses may not offer opinions ... based on their personal assessment of the credibility of

another witness's testimony. The credibility of witnesses is exclusively for the determination by

the jury, and witnesses may not opine as to the credibility of the testimony of other witnesses at

the trial.” Id. “[C]ompetency is for the judge, not the jury. Credibility, however, is for the jury

- the jury is the lie detector in the courtroom.” U.S. v. Azure, 801 F.2d 336, 340 (8th Cir.

(N.D.) 1986), quoting United States v. Barnard, 490 F.2d 907, 912 (9th Cir.1973), cert. denied,

416 U.S. 959, 94 S.Ct. 1976 (1974)(Upholding trial court’s rejection of defendants’ proffered

expert psychiatric testimony that a government witness was a sociopath who would lie in

testifying). “[E]xpert testimony going to the issue of credibility is not admissible.” Westcott v.

Crinklaw, 68 F.3d 1073, 1077 (8th Cir. 1995). No expert may testify as a “human lie detector.”

See U.S. v. Williams, 133 F.3d 1048, 1053 (7th Cir. (Wis.) 1998)(Trial court’s admission of

“human lie detector” evidence was plain error); United States v. Petersen, 24 MJ 283 (CMA

1987)(“Human lie detector” evidence prohibited). The same result holds under Missouri law.

See State v. Taylor, 663 S.W.2d 235, 239 (Mo. banc 1984)(“[E]xpert opinion testimony is not

admissible as it relates to credibility of witnesses.”)

        In Azure, the prosecution offered expert testimony that the story of the minor victim was

believable and that the expert could “see no reason why [the victim] would not be telling the

truth in this matter.” 801 F.2d at 339. The Court of Appeals for the Eighth Circuit reversed the

conviction and remanded, finding that “no reliable test for truthfulness exists” and that the expert




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improperly “put a stamp of believability” on the victim’s story which the jury might have

improperly relied upon. Id. at 340-341.

       Westcott v. Crinklaw, 68 F.3d 1073 (8th Cir. 1995), was a wrongful death case against a

police officer who shot plaintiff’s decedent. The defendant police officer made several

admissions in the immediate aftermath of the shooting including that he did not know whether

the suspect (plaintiff’s decedent) had a gun in his hand. Id. at 1075. The defense offered expert

testimony that the officer suffered from post-traumatic stress syndrome after the shooting, and

that this may cause a person “to make inaccurate, unreliable and incomplete statements.” Id. The

Eighth Circuit reversed and remanded, finding that “the accuracy of these statements

[defendant’s admission] is a pure question of credibility” and the expert’s testimony should have

been excluded. Id. at 1075-1077.

       The testimony of Defendant’s expert Dr. Smith concerning Mr. Rihn’s credibility is

inadmissible for the same reasons. She offers her “expert”, purportedly “scientific” opinion that

Mr. Rihn lacks credibility in this case. These are direct opinions on Gary Rihn’s credibility,

including the truthfulness of his testimony. As indicated above, this type of testimony invades

the province of the jury, and is improper as a matter of law and not admissible. In other words,

Dr. Smith’s opinion that Mr. Rihn is exaggerating his symptoms is indisputably “based on [her]

personal assessment of the credibility of another witness’s testimony.” Scop, 846 F.2d at 142.

       Statements directly attacking Mr. Rihn’s credibility based on his use of the legal system

will be addressed in Section B, infra. Other statements attacking the credibility of Mr. Rihn’s

testimony includes the following:

       His claim that his move to Pennsylvania was as a result of this incident is not credible.
       His current job situation would be considered superior and preferable…
       (Ex. 1, p. 19.)




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       “For June I had to go back [to work] because of (lack of) seniority, so I took a military
       leave.” (He chose not to fly. There is no convincing evidence he was incapable. There
       is no reported re-traumatization to cause increased symptoms.) (Ex. 1, p. 6.)

       JOB HISTORY: Includes working for his father, building swimming pools for two years
       after high school. At age 23, he joined Northwest Airlines and has remained with them
       since. (Records indicate his job history is more varied.) (Ex. 1, p. 8.)

       [Mr. Rihn] attended no college. Denied attending any type of vocational school.
       (Records show otherwise). (Ex. 1, p. 9.)

       [Mr. Rihn reported] Mood today was “nervous.” (He appeared calm.) (Ex. 1, p. 9.)

       [Mr. Rihn] was written-up [in his Northwest Airlines personnel file] on one occasion in
       1989 for being $16 short in his cash deposit, termed “a serious matter” by his supervisor.
       (Ex. 1, p. 10.)

       Mr. Rihn’s resume shows he graduated from Shaler High School in Pittsburgh,
       Pennsylvania. He also attended the Boyd (travel industry?) School. (Note: he denied
       other/vocational schooling here today.) (Ex. 1, p. 10.)

       (Note: these records indicate Mr. Rihn minimized his work history here today.) (Ex. 1,
       p. 10.)

       He reported [in deposition] his Northwest Airline salary was $55,000 per year (10K
       higher than he reported here). (Ex. 1, p. 12.)

       The (suspected incomplete) Northwest Airline personnel file of Mr. Rihn was reviewed.
       (Ex. 1, p. 13.)

       Dr. Smith repeatedly uses purported and manufactured “inconsistencies” in Mr. Rihn’s

statements in an attempt to generally attack Mr. Rihn’s credibility, often parenthetically

concluding that Mr. Rihn is not telling the truth. None of these supposed inconsistencies is

relevant or immaterial to the issues in this case in any way. Not only is Dr. Smith improperly

commenting on Mr. Rihn’s credibility, she is improperly making findings of fact, again invading

the province of the jury. It is not the job of this purported psychological expert to determine as a

question of fact whether or not Mr. Rihn had vocational training! And none of these supposed

inconsistencies concerning Mr. Rihn’s educational or work background have anything to do with




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the relevant issues in this case or with Mr. Rihn’s injuries. Dr. Smith’s only possible rationale

for continually impeaching Mr. Rihn with her own independent findings of fact on these

irrelevant issues is to reinforce her improper opinion that Mr. Rihn is not credible and is faking

or exaggerating his injuries. Each such statement should be stricken.

       B.      The Court should exclude all statements and opinions by Dr. Smith
               improperly attacking Plaintiff’s credibility based on his exercise of legal
               rights.

               1.      Dr. Smith explicitly argues that Plaintiff is not credible because of his
                       exercise of legal rights.

       Dr. Smith bases her attack on Mr. Rihn’s credibility and motives on the fact that he has

utilized his rights under the judicial system, contending that Mr. Rihn “is exaggerating his

complaints and navigating the treatment and litigation processes to favor his legal claim.” The

law is clear that a party may not offer expert testimony “in an attempt to discredit plaintiffs for

exercising their right to utilize the judicial system to seek recovery for their injuries.” Yingling v.

Hartwig, 925 S.W.2d 952, 956 (Mo.App. W.D. 1996). The Court in Yingling held that the trial

court’s admission of a physician's expert opinion, to the effect that patients involved in litigation

have subjective complaints of injury for a longer period of time than patients not involved in

litigation, was prejudicial and required a new trial. Id. at 955-957.

       In her Rule 26(b)(2) report, Dr. Smith cites an “MMPI computer printout” for the

conclusion that “such a large number of unusual symptoms is common in individuals involved in

personal injury litigation.” (Ex. 1, pp. 14.) Dr. Smith contends that “The setting of ongoing civil

litigation inevitably raises the specter of secondary gain[,]” and offers her opinion that

“Secondary gain is definitely present here.” (Ex. 1, pp. 20.) Dr. Smith’s opinions concerning Mr.

Rihn’s psychological injuries arising from Defendant’s assault are entirely premised and




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dependent on her inadmissible opinion testimony that Mr. Rihn is exaggerating his symptoms for

personal gain.

        The Court in Yingling addressed similar “secondary gain” or “litigation syndrome”

testimony, stating:

        Dr. Neighbor’s testimony was, in essence, a comment on a plaintiff’s credibility; a
        statement that plaintiffs generally falsify their subjective complaints for the purpose
        of furthering their lawsuit and increasing their damages. Such a comment by an
        expert witness is inadmissible. Id. at 956. [Internal citations omitted.] [Emphasis
        supplied.]

        Dr. Smith’s testimony in this case is indistinguishable. Notably, although Yingling is a

Missouri case, the Court was applying the same principle as that adopted by the federal cases

discussed above: That credibility is the sole province of the jury and cannot be invaded by

expert opinion. This is particularly the case where the expert attacks a party’s use of the legal

system in a blatant effort to prejudice the jury.        Thus, Dr. Smith’s opinions concerning

“secondary gain” or “litigation syndrome” by those engaged in personal injury litigation are

inadmissible as a matter of law. Dr. Smith’s testimony and conclusions concerning Mr. Rihn’s

injuries appear entirely dependent on her opinion that Mr. Rihn is not credible because of his

involvement in this lawsuit.

        The following statements from Dr. Smith’s report on their face directly attack Mr. Rihn’s

credibility and his exercise of his legal rights:

        Axis IV:        Ongoing litigation (which is affecting his mood). (Ex. 1, p. 19.)

        [Mr. Rihn] decided to sue, and then was evaluated by a psychologist. I do believe Mr.
        Rihn developed some mild psychological symptoms in the aftermath of this discrete
        event but he is exaggerating his difficulties. (Ex. 1, p. 19.)

        [B]ringing litigation is inherently very stressful. A considerable portion of his complaints
        result from this ongoing stressor (the litigation), with likely some resulting guilt. (Ex. 1,
        p. 19.)




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       [Plaintiff] declined any type of medication for his psychological complaints. This is not
       reasonable, and suggests a stronger commitment to his litigation than to the
       resolution of his alleged complaints. His motivation to pursue treatment is absent. He
       is invested in presenting himself as damaged for the purpose of this litigation. (Ex. 1,
       p. 19.)

       The setting of ongoing civil litigation inevitable raises the specter of secondary gain.
       Secondary gain is definitely present here. (Ex. 1, p. 20.)

       Mr. Rihn was already suing Mr. Jackson when he entered treatment with Dr.
       Aronov. This is substantial motivation to fail to improve, or to minimize or deny
       improvement, which would clinically be expected with the passage of time, and
       continued exposure to flying. (Ex. 1, p. 20.)

       [Plaintiff] is exaggerating his complaints and navigating the treatment and litigation
       processes to favor his legal claim. (Ex. 1, p. 21.) [Emphasis supplied.]

       Dr. Smith charges Gary Rihn with exaggerating his psychological complaints to further

his legal claim, and explicitly finds that specific testimony by Mr. Rihn is “not credible.” (Ex. 1,

p. 19.) Clearly these statements not only directly attack Mr. Rihn’s credibility, in violation of the

rule announced by the Eighth Circuit in Azure, they do so “in an attempt to discredit plaintiffs for

exercising their right to utilize the judicial system to seek recovery for their injuries.” Yingling v.

Hartwig, 925 S.W.2d 952, 956 (Mo.App. W.D. 1996). All of the above statements should

therefore be excluded.

               2.        The Court should preclude Dr. Smith from relying on the MMPI to
                         support her opinion that Mr. Rihn is exaggerating his symptoms and
                         is not credible and that Mr. Rihn has a “neurotic personality style.”

       Compounding the potential prejudice to plaintiffs and the expert’s invasion of the

province of the jury, Dr. Smith even relies on a psychological “test”, the MMPI, to support her

opinion that Mr. Rihn is lying and not credible. (Ex. 1, p. 14-15.) Dr. Smith contends that “The

MMPI computer printout noted claiming such a large number of unusual symptoms is common

in individuals involved in personal injury litigation.” (Ex. 1, p. 14.) Dr. Smith relies on the fact

that this MMPI “suggests a tendency to exaggerate symptoms” by Mr. Rihn in order to argue that



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Mr. Rihn is not credible. (Ex. 1, p. 14.) Dr. Smith quotes the “summary content” on the test by a

“Dr. Wetzel” that “Mr. Rihn is very uncomfortable and wants you to know it. He is probably

overstating his symptoms to a degree.”

        The fact that an expert uses “a psychological label or diagnosis” as a way of testifying to

credibility does not make such testimony proper. See Westcott v. Crinklaw, 68 F.3d 1073, 1077

(8th Cir. 1995). Plaintiffs’ own expert, Dr. Aronov, testified clearly that tests such as the MMPI

cannot determine truthfulness. (Ex. 3, Aronov Depo., p. 92.) Whether or not the MMPI would

pass a Daubert challenge in this context is irrelevant, because the MMPI is being used to test Mr.

Rihn’s credibility and truthfulness, a function that is strictly reserved for juries.

        Furthermore, Dr. Smith uses the MMPI to directly attack the character of Mr. Rihn:

        The profile showed his underlying personality to be passive-dependent in relationships,
        easily hurt by others, unassertive, immature, overly dependent on his wife, shy and
        inhibited in social situations, and emotionally alienated from others with likely very few
        friends. This social introversion was predicted to be a stable personality trait over time.
        He scored high on the marital distress score. “His relationships are likely to be viewed
        by others as problematic.” … “Note: one could develop reactive depressive symptoms
        after an event, but one would not develop a neurotic personality style as a result.” (Ex. 1,
        pp. 14-15.)

        This is a direct attack on the character of Mr. Rihn and an attempt to prejudice the jury

against him, buttressed by the supposedly “scientific” evidence of the MMPI. Dr. Smith uses her

opinions of Mr. Rihn’s personality to suggest that he is only seeking compensation for Mr.

Jackson’s violent attack on him because of his “neurotic personality style.” Apart from the law

set forth extensively above that such testimony by an expert is improper, Federal Rule of

Evidence 404 bars character evidence, stating that “Evidence of a person’s character or a trait of

character is not admissible for the purpose of proving action in conformity therewith[.]” Dr.

Smith should not be allowed to attack and impeach Mr. Rihn’s character in this manner.




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       By judging Mr. Rihn’s credibility and character, the MMPI test is also being used by Dr.

Smith as essentially a written version of a lie detector or polygraph test. Courts have similarly

recognized these tests to be unreliable and disfavored. See United States v. Scheffer, 523 U.S.

303, 309, 118 S.Ct. 1261 (1998); Ortega v. U.S., 270 F.3d 540, 548 (8th Cir. (Iowa) 2001);

United States v. Messina, 131 F.3d 36, 42 (2d Cir.1997), cert. denied, 523 U.S. 1088, 118 S.Ct.

1546, 140 L.Ed.2d 694 (1998); United States v. Stein, 127 F.3d 777, 781 (9th Cir.1997).

       Furthermore, Dr. Smith makes no reference to another psychological evaluation of Mr.

Rihn, the “MCMI-III” which was produced by the Defendant. This evaluation found that: “Axis

I clinical syndromes are suggested by the client’s MCMI-III profile in the areas of Generalized

Anxiety Disorder, Adjustment Disorder with Depressed Mood, and Posttraumatic Stress

Disorder.” (Exhibit 4, MCMI – III, p. 2). The MCMI-III contains the following findings

relevant to the assault on Mr. Rihn by the Defendant:

       Related to but beyond his characteristic level of emotional responsivity, this man appears
       to have been confronted with an event or events in which he was exposed to a severe
       threat to his life, a traumatic experience that precipitated intense fear or horror on his
       part. Currently the residuals of this event appear to be persistently reexperienced with
       recurrent and distressing recollections, such as in cues that resemble or symbolize an
       aspect of the traumatic event. Where possible he seeks to avoid such cues and
       recollections. Where they cannot be anticipated and actively avoided, as in dreams or
       nightmares, he may become terrified, exhibiting a number of symptoms of intense
       anxiety. Other signs of distress might include difficulty falling asleep, outbursts of anger,
       panic attacks, hypervigilance, exaggerated startle response, or a subjective sense of
       numbing and detachment. (Ex. 4, MCMI – III, p. 5).

       Dr. Smith ignores these findings entirely, instead relying only on the MMPI. Thus, Dr.

Smith is willing to rely on conclusions from a psychological test or evaluation when it supports

her conclusion that Mr. Rihn is exaggerating his symptoms, but not when it shows evidence of

actual psychological injury to Mr. Rihn. This is clear evidence, again, that the only purpose of




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Dr. Smith’s opinions in this case is to attack Mr. Rihn’s credibility and to suggest that he is

exaggerating his psychological injuries for the purposes of this lawsuit.

               3.      Dr. Smith should be precluded from making any other references to
                       Mr. Rihn’s exercise of his legal rights.

       Dr. Smith makes other improper and irrelevant references to Mr. Rihn’s use of legal

process for the purpose of impeaching his credibility with the jury, including the following:

       “[Dr. Aronov] said I showed signs of depression, hypervigilance, anxiety, stress – that
       kind of thing. So the attorney on the other side is arguing against that.” (Ex. 1, p. 4)
       [Quoting Gary Rihn]

       Mr. Rihn acknowledged there is a civil suit pending against Mr. Jackson. He reported
       being uncertain whether Worker’s Compensation is involved. “There may have been at
       the beginning.” He denied receiving benefits from Worker’s Compensation. He stated
       the company did pay for the 2 or 3 doctor visits and the psychotherapy with Dr. Aronov.
       (Ex. 1, p. 6.)

       Mr. Rihn stated he is suing Mr. Jackson for “lost income, moving expenses, and (doctor
       visit) co-pays with Dr. ‘Mak’” (former PMD in Memphis). (Ex. 1, p. 6.)

       [Mr. Rihn in deposition] stated he did file a Worker’s Compensation claim. (He
       expressed first doubt then lack of awareness about this here today.) (Ex. 1, p. 13.)

       Mr. Rihn acknowledged he was claiming (suing for reimbursement of) medical bills, lost
       wages, and moving expenses. (Ex. 1, p. 13.)

       One attorney’s question indicates Mr. Rihn’s lawsuit claims he has Posttraumatic Stress
       Disorder. (Mr. Rihn denied that here today.) (Ex. 1, p. 13.)

       These statements are irrelevant and clearly improper. “Accessing the legal system is

normally not to be discouraged and, exercising one’s right to utilize the legal system within

established rules and procedures should normally not be used to attempt to discredit a litigant

with a jury.” Carlyle v. Lai, 783 S.W.2d 925, 929 (Mo.App. W.D. 1989)(Defense counsel’s

questions regarding when plaintiff first hired attorney constituted prejudicial error; questions

were asked “to discredit plaintiffs as avaricious because they sought the services of a lawyer

soon after their son’s death”).



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       These statements are entirely irrelevant and immaterial to Mr. Rihn’s injuries or mental

state, or any other issue in this case. The only evident purpose for their inclusion in Dr. Smith’s

report is to impeach the credibility of Mr. Rihn and to cloud the issues with the jury by

referencing Worker’s Compensation. They are merely part and parcel of Dr. Smith’s improper

theme attacking Mr. Rihn for exercising his legal rights. Because these statements have no

probative value, and clearly prejudice Mr. Rihn, Dr. Smith should be precluded from making

these statements or giving any such testimony at trial.

       C.      Dr. Smith should be precluded from impeaching the credibility of Dr.
               Aronov, Mr. Rihn’s treating physician.

       The rule against allowing expert witnesses to opine on the credibility of other witnesses

extends to comments concerning the credibility of other expert witnesses. See Suter v. General

Acc. Ins. Co. of America, 424 F.Supp.2d 781, 793 (D.N.J. 2006). In her report, Dr. Smith attacks

the credibility of Mr. Rihn’s treating physician, Dr. Aronov, by giving her opinion that Dr.

Aronov is exaggerating Mr. Rihn’s injuries:

       Dr. Aronov felt the prognosis for further recovery was “guarded.” (This is an overly-
       dramatic and exaggeratedly negative term for someone who has been working full-
       duty for a year and a half). (Ex. 1, p. 11.)

       Dr. Smith also attacks Dr. Aronov’s credibility by referencing the fact that Dr. Aronov

had been in contact with plaintiffs’ attorneys:

       Dr. Aronov also acknowledged [an] attorney, Mr. Marovich, advised him the civil lawsuit
       had been filed before he (Dr. Aronov) first evaluated Mr. Rihn. Dr. Aronov also received
       correspondence from an attorney named Russell Johnson. (Ex. 1, p. 11.)

       Dr. Aronov stated the diagnosis may matter to the attorneys “but it really doesn’t matter
       to me.” (Ex. 1, p. 11.)

       Again, this is an improper and inadmissible reference to Plaintiffs’ use of the legal

system, as well as an improper comment on Dr. Aronov’s credibility, by suggesting that Dr.




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Aronov is not testifying truthfully because he is somehow interested in aiding Mr. Rihn’s legal

claims. None of these statements have anything to do with evaluating the substance of Dr.

Aronov’s medical opinions.

       Dr. Smith again attempted to bolster her improper and inadmissible opinion that Mr. Rihn

is lying about his injuries, with the following statements:

       [Dr. Aronov] acknowledged any individual could familiarize himself with the DSM
       diagnostic criteria for Posttraumatic Stress Disorder or Adjustment Disorder using the
       internet. (Ex. 1, p. 11.)

       [Dr. Aronov] described himself as ‘not competent’ to determine whether Mr. Rihn was
       being truthfrul. He was noncommittal regarding the presence or absence of secondary
       gain. (Ex. 1, p. 11.)

       Again, these statements are only relevant to Dr. Smith’s assertion that Mr. Rihn’s

testimony concerning his injuries is not credible because of this lawsuit.            Otherwise, the

statements have no possible probative value with regard to the issues in this case. These

statements are a comment on the credibility both of Mr. Rihn and Dr. Aronov, and as such are

inadmissible.

       Plaintiffs respectfully submit that Defendant’s proposed expert testimony from Dr. Smith

attacking the credibility of Mr. Rihn and Dr. Aronov, or of any other witness, improperly and

unduly prejudices plaintiffs. Any such testimony directly invades the province of the jury on the

issue of Mr. Rihn’s credibility. Therefore, Plaintiffs respectfully requests that all such testimony,

including all of the statements set forth above, be excluded at trial in this case.

       In the event the Court overrules Plaintiffs’ objections and allows the testimony of Dr.

Smith on any grounds, the plaintiffs intend to introduce the following documents as exhibits on

cross-examination:




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        (1)       List of cases in which Stacey Smith has testified, as provided by defendant’s

counsel; and

        (2)       Dr. Smith’s depositions in: Hollis v. FTS Contract Truckers Association, Division

of Workers Compensation, Injury No. 97-402135; Mattick v. Midwest Foundation Corporation,

Division of Workers Compensation, Injury No. 02-147458; and McKelvey v. Buchheit

Enterprises, et al., Division of Workers Compensation, Injury No. 02-130414.

            WHEREFORE, Plaintiffs respectfully request that the Court enter an Order precluding

the Defendant from introducing any expert testimony or opinions concerning the credibility of

Plaintiffs or any other witnesses, from making any comments or argument to the jury concerning

“secondary gain”, or otherwise attempting to discredit plaintiffs for exercising their right to

utilize the judicial system to seek recovery for their injuries.

                                                       DOWD & DOWD, P.C.

                                               BY:     ___/s/ DOUGLAS P. DOWD__
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                                  CERTIFICATE OF SERVICE

       A copy of the foregoing was served by operation of the Court’s electronic filing system
       th
this 10 day of March, 2008 to Mr. Thomas Magee, Attorneys for Defendant, Moser &
Marsalek, P.C., 200 North Broadway, Suite 700, St. Louis, Missouri 63102, 314-421-5640 (fax)
and N. Scott Rosenblum, Rosenblum, Schwarts & Rogers, P.C., 120 South Central Avenue,
Suite 1550, Clayton, Missouri 63105, 314-862-8050 (fax).

                                                       /s/ DOUGLAS P. DOWD__
                                                       DOUGLAS P. DOWD




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